                                                              ORDERED ACCORDINGLY.


                                                              Dated: December 14, 2023




                                                              _________________________________
 1                                                            Brenda K. Martin, Bankruptcy Judge
 2
 3
 4
 5
 6                        IN THE UNITED STATES BANKRUPTCY COURT
 7                           IN AND FOR THE DISTRICT OF ARIZONA
 8                                                 )
 9   In re                                         )                CHAPTER 13
                                                   )
10                                                 )
     CRYSTALE JEAN REASON,                                  CASE NO. 2:23-bk-08892-BKM
11                                                 )
                                                   ) (Assigned to the Honorable Judge Brenda K.
12
                                        Debtor. )                      Martin)
13                                                 )
                                                   )
14                                                 )
15                                                 )
     PIERCE PEAK, LLC, an Arizona limited )
16   liability company, aka Pierce Peak LLC, dba )
17   ARLO, ArLo Apartments or by other similar )
     names, and at times acting through its agent, )
18   MARK-TAYLOR RESIDENTIAL, INC., an )
19   Arizona corporation, aka Mark-Taylor )
     Residential, Inc.,                            ) ORDER SCHEDULING ACCELERATING
20                                                 )                 HEARING
21                            Landlord/Movant, )
                                                   )    (Primarily Re: 2121 North 44th Street,
22                        v.                       )   Apartment No. 4412, Phoenix, Arizona
23                                                 )                    85008)
     CRYSTALE JEAN REASON, aka Crystale )
24   Reid, aka Crystale Reason, aka Crystale J. )
25   Reason, Debtor; TREVOR D. REID, Co-Debtor; )
     CAITLYN A. REID, Co-Debor, and RUSSELL )
26   BROWN, Chapter 13 Trustee,                    )
27                                                 )
                                   Respondents. )
28                                                 )
29
30           Movant PIERCE PEAK, LLC, an Arizona limited liability company, aka Pierce Peak
31   LLC, dba ARLO, ArLo Apartments or by other similar names, and at times acting through its
32
     agent, MARK-TAYLOR RESIDENTIAL, INC., an Arizona corporation, aka Mark-Taylor
33
34   Residential, Inc. (“MOVANT”), having filed a pleading captioned “Motion For Relief From
35

     Case 2:23-bk-08892-BKM    Doc 14 Filed 12/14/23 Entered 12/14/23 09:47:20           Desc
                                Main Document Page 1 of 2
 1   The Automatic Stay & Co-Debtor Stay, Including An In Rem Adjudication, Together With An
 2   11 U.S.C. 362(j) Order” (“Motion”), and because good cause has been shown by the Motion
 3
     and the additional pleading filed by MOVANT captioned: “Motion For Accelerated Hearing
 4
 5   Not Later Than December 26, 2023”:
 6         IT IS HEREBY ORDERED that an Accelerated Hearing on the Motion will be
 7
     conducted telephonically by the Honorable Judge Brenda K. Martin on December 28, 2023, at
 8
 9   11:00 o’clock a.m.
10
           IT IS FURTHER ORDERED that interested parties are to appear at this Accelerated
11
12   Hearing by dialing Tel. No. (833) 568-8864, inputting ID No. 160 2682 4273, and also,
13   inputting Pass Code No. 427399.
14
           IT IS FURTHER ORDERED that any Objection(s) and/or Response(s) to the Motion
15
16   shall be in writing, filed with the Clerk of the Court, and a copy served upon
17   MOVANT’s attorney by December 22, 2023.
18
           LASTLY, IT IS ORDERED that MOVANT’s counsel shall promptly serve true and
19
20   correct copies of this Order, once issued by the Court, upon all necessary parties, and
21   thereafter, MOVANT’s counsel shall file an appropriate Declaration of Service evidencing how
22
     and when service of this Order was effectuated.
23
24
                                             SIGNED AND DATED ABOVE
25
26
27
28
29
30
31
32
33
34
35
                                              -- 2 --
     Case 2:23-bk-08892-BKM     Doc 14 Filed 12/14/23 Entered 12/14/23 09:47:20       Desc
                                 Main Document Page 2 of 2
